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Rick D. Roskelley (Bar No. 5125)
Email: rroskelley@littler.com
LITTLER MENDELSON, P.C.
3960 Howard Hughes Parkway
Suite 300
Las Vegas, NV 89169-5937
Telephone: 702.862.8800
Fax: 702.862.8811

ATTORNEY FOR WINCO FOODS, LLC




                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

GLORIA MITCHELL, individually and on             Case No. 1:16-cv-00076-BLW
behalf of all other similarly situated,

                   Plaintiff,                    STIPULATION TO EXTEND TIME
                                                 FOR DEFENDANT TO FILE A
       v.                                        RESPONSIVE PLEADING TO
                                                 PLAINTIFF’S SECOND AMENDED
WINCO FOODS, LLC, a Delaware limited             COMPLAINT
liability company,
                                                 [FIRST REQUEST]
                   Defendant.



       Plaintiff GLORIA MITCHELL and Defendant WINCO FOODS, LLC, by and through

their undersigned counsel, stipulate to extend the time for Defendant to file a responsive pleading

to Plaintiff’s Second Amended Complaint from the current deadline of February 8, 2019, up to

and including February 22, 2019. This extension is necessary in order to provide adequate time

for counsel for Defendant to receive and review necessary information in order to respond to

Plaintiff’s Second Amended Complaint.
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        This is the first request for an extension of time to respond to the Second Amended

Complaint. This request is made in good faith and not for the purpose of delay.


Dated: January 31, 2019                            Dated: January 31, 2019

Respectfully submitted,                            Respectfully submitted,



/s/ Steven L. Woodrow, Esq.                        /s/ Rick D. Roskelley, Esq.
Steven L. Woodrow, Esq.                            Rick D. Roskelley, Esq.
Patrick H. Peluso, Esq.                            rroskelley@littler.com
WOODROW & PELUSO, LLC                              LITTLER MENDELSON, P.C.
3900 East Mexico Ave., Suite 300                   3960 Howard Hughes Parkway
Denver, Colorado 80210                             Suite 300
                                                   Las Vegas, NV 89169-5937
Eric B. Swartz, Esq.                               702.862.8800
JONES & SWARTZ PLLC
623 W. Hays Street                                 ATTORNEY FOR WINCO FOODS, LLC
Boise, Idaho 83702

ATTORNEYS FOR GLORIA MITCHELL




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